               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                          SOUTHWESTERN DIVISION

                                               )
 UNITED STATES OF AMERICA,
                                               )
                 Plaintiff,                    )
                                               )
        v.                                     )    Case No. 21-5003-01-CR-SW-MDH
                                               )
 WILLIAM D. JOHNSON,                           )
                                               )
                 Defendant.                    )


                              MOTION FOR CONTINUANCE
       COMES NOW Defendant, William D. Johnson, by his attorney and hereby requests a
continuance in the September 20, 2021 trial setting in this case.

                                  SUPPORTING SUGGESTIONS

       1.       This case is a six count indictment charging a drug conspiracy with four named

                co-conspirators. Co-conspirator Rita Glasgow has not yet appeared in the case.

       2.       Counsel seeks a continuance in the trial of the case based on his inability to be

                fully prepared to give the defendant his Constitutional rights to effective

                representation under the present time constraints.

       3.       The case is relatively new and counsel entered his appearance in February, 2021.

                In additional, counsel very recently was positive for the COVID virus and as of

                the current date still suffers from chronic fatigue and brain fog symptoms that

                severely diminishes counsel’s ability to focus, concentrate, and deal with the

                analysis required in the preparation and trial of the issues.

       4.       Counsel is getting somewhat better and will fully recover but must ask for a later

                trial setting to be sure that this defendant’s constitutional rights to Due Process

                and effective representation are fully protected.

       5.       The Defendant is in full agreement and a Speedy Trial Waiver is on file with the

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              Court.

       WHEREFORE, defendant respectfully requests that this continuance be grated so that he

       may defend himself with full Constitutional protection.

                                                   /s/    Donald R. Cooley              __
                                                   Donald R. Cooley
                                                   Missouri Bar No. 21172
                                                   901 East St. Louis, Suite 1600
                                                   Springfield, MO 65806
                                                   (417) 831-3139


                               CERTIFICATE OF SERVICE

        I hereby certify that the filing of this Motion on the CM/ECF computer system, which
also delivers copies of the same to all counsel of record, was performed on this 10th day of
August, 2021.

                                            /s/   Donald R. Cooley
                                            Donald R. Cooley




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